                           13C01-1806-CT-000004                        Filed: 6/28/2018 11:00 AM
Case 4:18-cv-00119-RLY-DML Document 1-1 Filed 07/10/18 Page 1 of 13 PageID  #: 3            Clerk
                                                      Crawford Circuit Court                                Crawford County, Indiana
                                             STATE OF INDIANA
                                            CRAWFOR!) COUNTY
 KATH! PLASKETT,
            PLAINTIFF



 VS.                                                        CASE:



 WILLEAM BREEDiNG, IN HES CAPACiTY AS
 DEPUTY SHERIFF FOR THE CRAWFORD
 COUNTY SHEREFF AND THE CRAWFORD
 COUNTY SHERIFF AND CRAWFORD COUNTY,
 INDlANA,
                     '




            BEFEDANTS


                 COMPLNNT FOR DAMAGES AND REQUEST FOR JUR!                                 TRiAL

1.         This Court has subject matter jurisdiction of the 42 U.S.C. Section 1933 claims
           aiieging violations of the Fourth, Fifth, Eighth and Fourteenth Amendment
                                                                                      rights
           pmvided by the United States Ccnsﬁtution inasmuch as these acts took piaoe in
           Crawford County, Indiana.

2.         This Court has subject matter jur§3diction 0f those Indiana State Consiitutionai
           claims as well as those ciaims in negligence and tort.


                                         STATEMENT OF PARTIES
1.         The    Plaintiff,   Kathi Piaskett,   is   a resident of Crawford County, the State of
           Indiana.


2.         The Defendant, William Breeding                (hereinafter “Breeding”)   is a duly sworn
           Crawford County Sheriff‘s Deputy and                  is   employed by the Crawford Count
           Sheriff’s Department.


3.     -
           The Defendant, Crawford Caunty                 Sheriff's    Department are iocated   in   Engiish,
           Crawford County, Indiana.




                                    §TATEMENT QF CQMMGN                        mm
1.         On June 28, 2016                          am. the claimant, Kathi Piaskett
                                    at approximately 3:12
           (hereinafter “Kathi”),     was
                                     a guest at a property located at 405 West Spring Street
           in   Marengo, Crawford County, indiana.
Case 4:18-cv-00119-RLY-DML Document 1-1 Filed 07/10/18 Page 2 of 13 PageID #: 4
Case 4:18-cv-00119-RLY-DML Document 1-1 Filed 07/10/18 Page 3 of 13 PageID #: 5
Case 4:18-cv-00119-RLY-DML Document 1-1 Filed 07/10/18 Page 4 of 13 PageID #: 6
Case 4:18-cv-00119-RLY-DML Document 1-1 Filed 07/10/18 Page 5 of 13 PageID #: 7
Case 4:18-cv-00119-RLY-DML Document 1-1 Filed 07/10/18 Page 6 of 13 PageID #: 8
                           13C01-1806-CT-000004                        Filed: 6/28/2018 11:00 AM
Case 4:18-cv-00119-RLY-DML Document 1-1 Filed 07/10/18 Page 7 of 13 PageID  #: 9            Clerk
                                      Crawford Circuit Court                          Crawford County, Indiana


                                     STATE OF INDIANA
                                    CRAWFORD COUNTY

 KATHI PLASKETT,
      PLAINTIFF

 VS.                                        CASE:

 WILLIAM BREEDING, IN HIS CAPACITY AS
 DEPUTY SHERIFF FOR THE CRAWFORD
 COUNTY SHERIFF AND THE CRAWFORD
 COUNTY SHERIFF AND CRAWFORD COUNTY,
 INDIANA,
      DEFENDANTS

                                        SUMMONS
        THE STATE OF INDIANA TO DEFENDANT: Crawford County Commissioners

 c/o Marcus Burgher, 104 Indiana Ave., English, IN 47118

        You have been sued by the person(s) named "plaintiff", in the Court stated above.

     The nature of the suit against you is stated in the complaint which is attached to this
 summons. It also states the demand which the plaintiff has made against you.

        You must answer the complaint in writing to be filed with the Court, by you or your
 attorney, within twenty (20) days, commencing the day after you receive this summons,
 (you have twenty-three (23) days to answer if this summons was received by mail), or
 judgment will be entered against you for what the plaintiff has demanded.

        If you deny the demand and/or have a claim for relief against the plaintiff arising
 from the same transaction or occurrence, you must assert it in your written answer.

        It is suggested that you consult with an attorney of your choice regarding this
 matter.

        The following manner of service of summons is hereby designated: Certified Mail.

 Dated: JUNE 28, 2018

 LARRY O. WILDER
 Attorney for Plaintiff
 530 East Court Avenue
 Jeffersonville, IN 47130
 (812) 288-6820                             Clerk of the Courts of Crawford County
Case 4:18-cv-00119-RLY-DML Document 1-1 Filed 07/10/18 Page 8 of 13 PageID #: 10




 Original summons for Clerk and copy If service is by mail, stamped addressed for each
 respondent to be prepared envelope with return receipt attached to be prepared by
 attorney.



                             CLERK'S CERTIFICATE OF MAILING

                I hereby certify that on the       day of ____________, 2018, I mailed a
          copy of this summons and a copy of the complaint to the Defendant, Crawford
          County Commissioners , by Certified mail, requesting a return receipt, at the
          address furnished by the plaintiff.



                                            Clerk of the Courts
                                            Crawford County, Indiana


 Dated:

                       RETURN OF SERVICE OF SUMMONS BY MAIL

                 I hereby certify that the attached return receipt was received by me showing
          that the summons and a copy of the copy of the complaint mailed to Respondent,
          , was accepted by the Respondent on the
          ___ day of              , 2018.
                 I hereby certify that the attached return receipt was received by me showing
          that the summons and a copy of the complaint was returned not accepted on
          the____ day of____________, 2018.
                 I hereby certify that the attached return receipt was received by me showing
          that the summons and a copy of the complaint mailed to Respondent
          , was accepted by                                  (Age)       on behalf of said
          Respondent on the         day of               , 2018.



                                     Clerk of the Courts
                                     Crawford County, Indiana
Case 4:18-cv-00119-RLY-DML Document 1-1 Filed 07/10/18 Page 9 of 13 PageID #: 11
                            13C01-1806-CT-000004                        Filed: 6/28/2018 11:00 AM
Case 4:18-cv-00119-RLY-DML Document 1-1 Filed 07/10/18 Page 10 of 13 PageID  #: 12           Clerk
                                       Crawford Circuit Court                          Crawford County, Indiana


                                      STATE OF INDIANA
                                     CRAWFORD COUNTY

  KATHI PLASKETT,
       PLAINTIFF

  VS.                                        CASE:

  WILLIAM BREEDING, IN HIS CAPACITY AS
  DEPUTY SHERIFF FOR THE CRAWFORD
  COUNTY SHERIFF AND THE CRAWFORD
  COUNTY SHERIFF AND CRAWFORD COUNTY,
  INDIANA,
       DEFENDANTS

                                         SUMMONS
         THE STATE OF INDIANA TO DEFENDANT: Crawford County Sheriff

                              ADDRESS: 715 Judicial Plaza Drive, English, IN 47118

         You have been sued by the person(s) named "plaintiff", in the Court stated above.

      The nature of the suit against you is stated in the complaint which is attached to this
  summons. It also states the demand which the plaintiff has made against you.

         You must answer the complaint in writing to be filed with the Court, by you or your
  attorney, within twenty (20) days, commencing the day after you receive this summons,
  (you have twenty-three (23) days to answer if this summons was received by mail), or
  judgment will be entered against you for what the plaintiff has demanded.

         If you deny the demand and/or have a claim for relief against the plaintiff arising
  from the same transaction or occurrence, you must assert it in your written answer.

         It is suggested that you consult with an attorney of your choice regarding this
  matter.

         The following manner of service of summons is hereby designated: Certified Mail.

  Dated: JUNE 28, 2018

  LARRY O. WILDER
  Attorney for Plaintiff
  530 East Court Avenue
  Jeffersonville, IN 47130
  (812) 288-6820                             Clerk of the Courts of Crawford County
Case 4:18-cv-00119-RLY-DML Document 1-1 Filed 07/10/18 Page 11 of 13 PageID #: 13




  Original summons for Clerk and copy If service is by mail, stamped addressed for each
  respondent to be prepared envelope with return receipt attached to be prepared by
  attorney.



                              CLERK'S CERTIFICATE OF MAILING

                  I hereby certify that on the      day of ____________, 2018, I mailed a
           copy of this summons and a copy of the complaint to the Defendant, Crawford
           County , by Certified mail, requesting a return receipt, at the address furnished
           by the plaintiff.



                                             Clerk of the Courts
                                             Crawford County, Indiana


  Dated:

                        RETURN OF SERVICE OF SUMMONS BY MAIL

                  I hereby certify that the attached return receipt was received by me showing
           that the summons and a copy of the copy of the complaint mailed to Respondent,
           , was accepted by the Respondent on the
           ___ day of              , 2018.
                  I hereby certify that the attached return receipt was received by me showing
           that the summons and a copy of the complaint was returned not accepted on
           the____ day of____________, 2018.
                  I hereby certify that the attached return receipt was received by me showing
           that the summons and a copy of the complaint mailed to Respondent
           , was accepted by                                  (Age)       on behalf of said
           Respondent on the         day of               , 2018.



                                      Clerk of the Courts
                                      Crawford County, Indiana
                            13C01-1806-CT-000004                        Filed: 6/28/2018 11:00 AM
Case 4:18-cv-00119-RLY-DML Document 1-1 Filed 07/10/18 Page 12 of 13 PageID  #: 14           Clerk
                                       Crawford Circuit Court                          Crawford County, Indiana


                                      STATE OF INDIANA
                                     CRAWFORD COUNTY

  KATHI PLASKETT,
       PLAINTIFF

  VS.                                        CASE:

  WILLIAM BREEDING, IN HIS CAPACITY AS
  DEPUTY SHERIFF FOR THE CRAWFORD
  COUNTY SHERIFF AND THE CRAWFORD
  COUNTY SHERIFF AND CRAWFORD COUNTY,
  INDIANA,
       DEFENDANTS

                                         SUMMONS
         THE STATE OF INDIANA TO DEFENDANT: William Breeding, Deputy Sheriff

                              ADDRESS: 715 Judicial Plaza Drive, English, IN 47118

         You have been sued by the person(s) named "plaintiff", in the Court stated above.

      The nature of the suit against you is stated in the complaint which is attached to this
  summons. It also states the demand which the plaintiff has made against you.

         You must answer the complaint in writing to be filed with the Court, by you or your
  attorney, within twenty (20) days, commencing the day after you receive this summons,
  (you have twenty-three (23) days to answer if this summons was received by mail), or
  judgment will be entered against you for what the plaintiff has demanded.

         If you deny the demand and/or have a claim for relief against the plaintiff arising
  from the same transaction or occurrence, you must assert it in your written answer.

         It is suggested that you consult with an attorney of your choice regarding this
  matter.

         The following manner of service of summons is hereby designated: Certified Mail.

  Dated: JUNE 28, 2018

  LARRY O. WILDER
  Attorney for Plaintiff
  530 East Court Avenue
  Jeffersonville, IN 47130
  (812) 288-6820                             Clerk of the Courts of Crawford County
Case 4:18-cv-00119-RLY-DML Document 1-1 Filed 07/10/18 Page 13 of 13 PageID #: 15




  Original summons for Clerk and copy If service is by mail, stamped addressed for each
  respondent to be prepared envelope with return receipt attached to be prepared by
  attorney.



                              CLERK'S CERTIFICATE OF MAILING

                 I hereby certify that on the       day of ____________, 2018, I mailed a
           copy of this summons and a copy of the complaint to the Defendant, William
           Breeding, Deputy Sheriff , by Certified mail, requesting a return receipt, at the
           address furnished by the plaintiff.



                                             Clerk of the Courts
                                             Crawford County, Indiana


  Dated:

                        RETURN OF SERVICE OF SUMMONS BY MAIL

                  I hereby certify that the attached return receipt was received by me showing
           that the summons and a copy of the copy of the complaint mailed to Respondent,
           , was accepted by the Respondent on the
           ___ day of              , 2018.
                  I hereby certify that the attached return receipt was received by me showing
           that the summons and a copy of the complaint was returned not accepted on
           the____ day of____________, 2018.
                  I hereby certify that the attached return receipt was received by me showing
           that the summons and a copy of the complaint mailed to Respondent
           , was accepted by                                  (Age)       on behalf of said
           Respondent on the         day of               , 2018.



                                      Clerk of the Courts
                                      Crawford County, Indiana
